            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                       Plaintiff,       )
                                        )
     vs.                                )     No. 14-03093-02-CR-S-BP
                                        )
TELVON T. BOYD,                         )
                                        )
                       Defendant.       )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count Two and admitted to Forfeiture

Allegation of the Indictment filed on November 5, 2014.                    After

cautioning and examining the Defendant under oath concerning each

of the subjects mentioned in Rule 11, I determined that the guilty

plea was knowledgeable and voluntary, and that the offense charged

is supported by a factual basis for each of the essential elements

of the offense.    I therefore recommend that the plea of guilty be

accepted and that the Defendant be adjudged guilty and have sentence

imposed accordingly.



Date: July 30, 2015                      /s/David P. Rush
                                        DAVID P. RUSH
                                        UNITED STATES MAGISTRATE JUDGE




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                                  NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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